Case 2:24-cv-01198-DMF Document1 Filed 05/22/24 Page 1of6
FILED as
Pro Se I (Rev. 12/16) Complaint for a Civil Case RECEn ED —— LODGED
UNITED STATES DISTRICT COUR MAY 2 2 2024
for the CLERK U S DISTR
District of DISTRICT OF ARIZONA
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—————————__ DEPuTy
Division
) CaseNo, | ©¥24-01198-PHX-DMF
) (to be filled in by the Clerk’s Office)
Judy ( accllo )
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. oot.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) LJ Yes Jno
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
“y= )
)
)
)
Varco Bank )
Defendant(s) )
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page )

with the full list of names.)

COMPLAINT FOR A CIVIL CASE

lL The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name

Street Address

Judy Carcille
997 W itaccen pe

City and County
State and Zip Code

— Casa _Granele j Pinal County
Acizona

P5194

Telephone Number

E-mail Address

$20 GI1O-2264

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (jfknown). Attach additional pages if needed.

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Defendant No. 1

Name Varo Rank

Job or Title (if known)

Street Address | | F¥/ § | one Peak Poy
City and County Deapec_ Udtoh County
State and Zip Code ‘Uteh 'SY4O 2O
Telephone Number

E-mail Address (if known)

Defendant No. 2

Name Nice Beam, Lt

Job or Title (if known)

Street Address | 0S CO Sw Al len Blud

City and County Beaverton [dachinglen Cs. why
State-and Zip Code  Oreaon 97005
Telephone Number v

E-mail Address (if known)

Defendant No. 3

Name ( le LLC

Job or Title (if known)

Street Address ¥ +3! Cierca ¢ olleac Bhid
City and County R oseville _p lec C20 (' Oualy
State and Zip Code Cal Cocetn, 85 bell
Telephone Number

E-mail Address (if known)

Defendant No. 4

Name (| heist phir Eox

Job or Title (known)

Street Address 3238 E\Val Viste ©

City and County C QASa G raacls ' Penal CA our
State and Zip Code Ari 2mMa C5192

Telephone Number S20 Y2/- YG36

E-mail Address (if known)

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I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
Drea question [J Diversity of citizenship

Fill out the paragraphs in this section that apply to this case,
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.
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nay —tacrcterines—bribary | forper ies, False
B. If the Basis for Jurisdiction Is Diversity of Citizenship ! ‘ ! gtatewts.
1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) . , is a citizen of the

State of (name)

b. If the plaintiff is a corporation
The plaintiff, (ame) , is incorporated

under the laws of the State of (name) >

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of
(foreign nation)

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Case 0: 24-0v- Seer er Gdare vas 05/22/24 Page 5 of 6
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b. If the defendant is a corporation
The defendant, (ame) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy $ 10 Million dollars

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

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Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages,

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